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        Attorney for Defendant Earl D. Fisher




                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                        PORTLAND DIVISION



 UNITED STATES OF AMERICA,                                        CASE NO. 3:18-CR-00319-JO-2

                                          Plaintiff,              DEFENDANT EARL D. FISHER
                                                                  MOTION TO PRODUCE ALL
                                                                  CONFIDENTIAL
                          v.                                      INFORMANTS, BENEFITS, AND
                                                                  DEFENSE ATTORNEY
                                                                  INTERVIEW
 EARL D. FISHER,

                                        Defendant,

        COMES NOW the defendant, Earl D. Fisher, by and through his attorney, Ernest Warren,

Jr., and moves the court for an order compelling the government to produce all confidential

informants and/or cooperating witnesses as follows:

              A. Identities and contact information;

              B. Disclosure of all benefits made or offered to informants or witnesses as

                  inducement for information, including but not limited to money, leniency,

                  and/or immunity;

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Attorney Interview
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              C. The names of all agents and their state, local or federal agencies who have

                  received any information from the informants or witnesses in this case or any

                  other cases, or who have conferred benefits to the informant or witness or an

                  associate of the informants or witnesses;

              D. Production and disclosure of any informant or witness files in the custody of the

                  DEA or any other state, local or federal law enforcement agencies;

              E. All information regarding the informants or witnesses prior testimony in this or

                  any other proceeding; and

              F. All records or evidence regarding informants and witnesses drug and alcohol

                  habits; and

              G. All records or evidence regarding informants and witnesses psychiatric

                  treatment, and/or drug or alcohol treatment.

POINTS AND AUTHORITIES

Roviaro v. U.S., 353 U.S. 53 (1957)

Brady v. Maryland, 373 U.S. 83 (1963)



DATED this 21 day of August, 2018



                                 RESPECTFULLY SUBMITTED,
                                 WARREN & SUGARMAN

                                 /s/ Ernest Warren, Jr.
                                 __________________________
                                 Ernest Warren, OSB No. #891384
                                 Attorney for defendant

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                             CERTIFICATE OF SERVICE

       I hereby certify that I have served a certified true copy of Defendant Earl D. Fisher

Motion to Produce All Confidential Informants, Benefits, & Defense Attorney Interview in

the attached matter upon the parties listed below on by notice of electronic filing using the

CM/ECF System:


AUSA Leah Bolstad
United States Attorney's Office
1000 S.W. Third Avenue
Suite 600
Portland, OR 97204


and filed the original with the Court on the date listed below.

DATED this 21 of August, 2018.

                                   WARREN & SUGARMAN

                                     /s/ Ernest Warren, Jr.
                              Ernest Warren, Jr. OSB No. 891384
                                     Attorney for defendant




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